Case 1:21-cr-10045-ADB Document185_ Filed 07/08/24 Page 1 of 51

THE "Plaintitt, United States” “acting without Standing Is in

violation of Sixth, Second, and Fifth Amendment rights of the accus

sed . By executive branch prosecution

The sixth Amendment identifies the basic rights that the

‘ accused shall enjoy in all criminal prosecutions. They are presente
d strickly as rights that are available in preperation for trial =:
and at the trial itself."[MARTINEZ V. COURT OF APPEAL OF CALIFORNIA
» FOURTH APPELATE DISTRICT,528 US 152](2000)

"In the federal courts, the right of self-representation
has been protected by statute since the beginning of our Nation.
Section 35 of the Judiciary Act of 1789, 1 Statute 73, 92, enacted
by the First Congress and Signed by President Washington one. , dae, or
before the Sixth Amendment." _ ae S&S Cat

"To thrust counsel upon the accesed, : aa

against his considered wish, thus violates the logic of the Gena
Ba a

ment." OE D iw

"This allocation can only be justified, however by the a defend
ants consent at the outset, to accept counsel as his representative

An unwanted counsel "represents" the defendant only through a
tenuous and unacceptable legal fiction." [FARETTA V. STATE OF °..

CALIFORNIA, 422 US 806](1975)

"As issues are so presented , that the judicial power is
capable of acting on them finally as between the parties bofore the
court, we connot adjudge that the mode prescribed for enforcing the
lawful orders of the Interstate Commerce Commission is not calculat

ed to attain the object for which Congress was given power to

regulate interstate commerce. (cont.)....
Pepo H El Docket * Li71- CR-10045—ADB

v Jia 19094 Oone GL
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"It cannot be declared unless the incompatabilty between the
Constitution and the Act of Congress is clear and strong."

"Tt is
scarcely necessary to say that the power given to Congress to regul
ate interstate commerce does not carry with it any power to destroy
or impair those guarantees." [INTERSTATE COMMERCE COMMISSION V.
BRIMSONL 38 L Ed 1047j(See S. C. Reporters ed. 447-490. )

~The foregone case Law explains right to self-representation and

plaintifs use of "in and affecting commerce'to gain subject-matter
jurisdiction unduly. The following case law explains Congress'

to punish as limited , and an Act dispelling gained jurisdiction .

"No general power of inflicting punishment by the Congress of
the United States is found in that instrument. It contains in the .
provision that no person shall be deprived of life, liberty, or
property, without due process of law, the strongest implication .=
against punishment by order of the legislative body. It has been <=
repeatedly decided by this court and by others of the highest =
authority, that this means a trial in which the rights of the party
shall be decided appointed by law, which tribunal is to be governe
d by rules of law previously established. An act of Congress which
preposedto adjudge a man guilty of a crime and inflict the punishme
nt, would be conceded by all thinking men to be unauthorized by
anything in the Constitution, that instrument however, is not
wholly silent as to the authority of the separate branches of
Congressto inflict punishment. It authorizes each house to punish
its own members."({KILBOURN V. THOMPSON[26 L Ed 377](See S.C. 13
Otto, 168-205)

(cont. )....
Case 1:21-cr-10045-ADB Document185_ Filed 07/08/24 Page 3 of 51

"We accordingly reject the argument that Congress may

regulate noneconomic, violent criminal conduct based solely on

that conducts aggregate effect on interstate commerce." |
The

regulation and punishment.of intrastate violence that is not
directed at the instrumentalities, channels, or goods involed in
interstate commerce has always been the province of the States. See
» @-g. Cohens v. Virginia, 6 Wheat 264, 426, 428, 5 L Ed 257 (1821)
(Marshall, C. J.) (stating that Congress has no general right to
punish murder commited within any of the States, and that it is
clear...that Congress cannot punish felonies generally). Indeed
,;we can think of no better example of the police power, which the
founders denied the National Government and reposed in the States,
than the suppression of violent crime and vindication of its victim
s."'LUNITED STATES V. MORRISON,529 US 598}(2000)
"The liability actions commenced or contemplated by the

Federal Government, States, municipalities, and private interest
groups and others are based on theories without foundation in
hundreds of years of the common law and jurisprudents of the United
States and do not represent a bona-fide expansion of the common law

The possible sustaining of these actions by a maverick judicial
officer or petit jury would expand civil liability in a manner
never contemplated by the framers of the constitution, by Congress,
or by the legislatures of the several States. Such an expansion of
liability would constitute a deprivation of the rights, privil-
eges, and immunities guaranteed to a citizen of the United States _
under the Fourteenth Amendment to the United States Constitution."

[TITLE 15 USC SECTION 7901] PROTECTION OF LAWFUL COMMERCE IN ARMS .
Case 1:21-cr-10045-ADB Document185_ Filed 07/08/24 Page 4 of 51

"When an affirmative statute contains no expression of a -_.
purpose to repeal a prior law, it does not repeal it inless the two
Acts are in irreconcilable conflict, or unless the later statute
covers the whole ground occupied by the earlier, and is clearly int
ended as a substitute for it; and the intention of the Legislature
to repeal must be clear and manifest."[TOWN OF RED ROCK V. HENRY[
(1883)

"We turn to the phrases "keep arms" and "bear arms" Johnson
defined "keep" as, most relavantly, to retain and not lose, and to
have in custody. Johnson 1095. Webster defined it as to hold; to re
tain ones power or possession. No party has apprised us of an
idiomatic meaning of keep arms. Thus, the most natural reading of

"keep arms" in the Second Amendment is to have weapons".
"At time of

tne founding, as now, “bear" meant to "carry". See Johnson 161;
webster; T. Sheridan, A Complete Dictionary of the English
Language(1796); 2 Oxford English Dictionary 20(2nd ed. 1989)
(hereinafter Oxford). When used with "arms" however, the term has
a meaning that refers to carrying for a particular purpose,
confrontation. In Muscarello v. United States,524 US 125, 118 S.
Ct. 1911, 141 L. Ed. 2d 111 (1998), in the course of analyzing the
meaning of carries a firearm in a federal criminal statute,

Justice Ginburg wrote that surely a most familiar meaning is, as
the Constitutions Second amendment indicates , wear, bear, or carry
-.-upon the person or in the clothing, or in a pocket, for the ..-.-
purpose... of being armed and ready for offensive or defensive
action in the case of conflict with another person."[DISTRICT OF

COLUMBIA V. HELLER,554 US 570j(2008)
Case 1:21-cr-10045-ADB Document185_ Filed 07/08/24 Page 5 of 51

"Declaration of Rights (1776), reprinted in 5 THORPE
3081-5084 (deciaring that "all men are born equally free and ind-
ependent and have certain natural, inherent and inalienable rights"
,yincluding the right to worship Almighty God according to the
dictates of their own consciences , and the "right to bear arms
tor the defense of themselves and the State.)" [BUTCHERS UNION
SLAUGHTER-HOUSE AND LIVE STOCK LANDING COMPANY V. CRESCENT CITY
LIVE STOCK LANDING AND SLAUGHTER - HOUSE COMPANY[28 L Ed 585]
(1885)

"OVERVIEW: HOLDINGS:[1j- Applicants for licenses to
carry concealed weapons were unconstitutionally denied their right
to bear arms by the county, requirement that the applicants demo-
nstrate good cause by documenting specific threats against them
,»Since responsible ,law abiding.citizens had right to carry fire-
arms in public for self-defense, PERUTA V. COUNTY OF SAN DIEGO, 742
F. 3d 1144 (2014)

"OVERVIEW:HOLDING:{1]|-Where the State of New York
issued public carry licenses only when an applicant demonstrated
special need for self-defense, the States licencing regime
violated the Constitution, because the Second and Fourteenth
Amendments protected an individual right to carry a handgun for
self-defense, outside the home."{ NEW YORK STATE RIFLE AND PISTOL
ASSOCIATION INC. V. BRUEN,597__,142 S Ct__,213)(2022)

"The right of bearing arms for a lawful purpose, is =:
not a right granted by the Constitution, neitner is it in any
manner Gependent upon that instrument for its existence. the
Second Amendment declares that it shall not be infringed, but this
means no more tha that it shall not be infringed by Congress. _
[UNITED STATES V. CRUIKSHANK[23 L Ed 588 j

(6) -right of bearing arms-
Case 1:21-cr-10045-ADB Document185_ Filed 07/08/24 Page 6 of 51

Due Process violation of the PROCEDURAL and SUBSTANTIVE
nature are taking place with case#1:21-CR-10045-ADB, of Second,
Fifth and Sixth Amendment law , by the court acting outside of
its Constitutional purpose expressed by the U.S. Government

Charter

"The due course of legal proceedings, according to those
‘rules and forms which have been established for the protection of
private rights, is due process of law."[KENNARD V. STATE OF
LOUISIANA] {23 L Ed 478]

"Were due process merely a procedural safeguard, it would
fail to reach those situations where the deprivation of life,
liberty, or property was accomplished by legislation, which by
Operating in the future could, givineven the fairest possible
procedure in application to individuals, nevertheless destroy the
enjoyment of all three."{POE V. ULLMAN, 367 US 497 |(1961)

"The court shall commit the defendant to the custody of
the Attorney General. The Attorney General shall hospitalize the
defendant for treatment in a suitable facility."| TITLE 18 USC
Section 4241 (d)

"It is not the breaking of his doors and the rummaging
of his drawers that constitutes the essence of the offense; butit
is the invasion of his indefeasible right to personal security
» personal liberty, and private property, where the right has
never been forfeited byyhis conviction of some public offense."
LWEEKS V. UNITED STATES[{[58 L Ed 652 (1914) also the same in;
[BOYD V. UNITED STATES, 29 L Ed 746 }(1886)

"That all men are endoewed » hot by the edicts of
Emporers or decrees of Parliament or Act of Congress, but by their
creator with certain inalienable rights, that is , rights which
cannot be bartered away or givin away or taken away except in
punishment of::crime."{BUTCHERS UNION SLAUGHTER-HOUSE AND LIVE-
STOCK LANDING COMPANY V. CRESCENT CITY LIVE STOCK LANDING AND
SLAUGHTER-HOUSE COMPANY {28 L Ed 585(1884)

“NIETHER SLAVERY NOR INVOLUNTARY SERVITUDE, EXCEPT AS A
PUNISHMENT FOR CRIME, WHEREOF THE PARTY SHALL HAVE BEEN DULY CONVI

CTED [13th AMENDMENT , U.S. CONSTITUTION, j
Case 1:21-cr-10045-ADB Document185_ Filed 07/08/24 Page 7 of 51

"Our law, based upon centuries of tragic human experience
» requires that pefore a man can be sent to the peniteniary, he is
entitled to a speedy trial, to be present in court at every step
of the proceedings, at all times to be represented by counsel, or
to.speak on his own behalf, and to be informed in open court, of =»
every action taken against him untill ne is lawfully sentenced.
These are not mere ceremonials to be neglected at will in the
interest of a crowded calender or other expediences. They are basé=
ic rights. They bulk large in the totality of proceedural rights
guaranteed to persons accused of crime."| POLLARD V. UNITED STATES,
352 US 354 (1957)

"subject-matter

The Plaintiff has never properly gained
jurisdiction in the court , and it surely is not an administrative
court acting under ARTICLE I. By that , the judiciary has violated
the accused/defendants rights guaranteed by Constitutional law

of the Second, Fifth, and Sixth Amendment law.
Case 1:21-cr-10045-ADB Document185_ Filed 07/08/24 Page 8 of 51

Amendment 6 Rights of the accused.

In all criminal prosecutions, the accused shall enjoy the right to a speedy and public trial, by an
impartial jury of the State and district wherein the crime shall have been committed, which district
shall have been previously ascertained by law, and to be informed of the nature and cause of the
accusation; to be confronted with the witnesses against him; to have compulsory process for
obtaining witnesses in his favor, and to have the Assistance of Counsel for his defence.

USCONST 1

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/ -Case 1:21-cr-10045-ADB.. Document 185 Filed 07/08/24 Page 9 of 51

SALVADOR MARTINEZ, Petitioner
ys.
COURT OF APPEAL OF CALIFORNIA, FOURTH APPELLATE DISTRICT

528 US 152, 145 L Ed 2d 597, 120 S Ct 684
[No. 98-7809]
Argued November 9, 1999.

Decided January 12, 2000.

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1

[1c][3][4] The Faretta majority's reliance on the structure of the Sixth Amendment is also not
relevant. The Sixth Amendment identifies the basic rights that the accused shall enjoy

[528 US 160]

in "all criminal prosecutions." They are presented strictly as rights that are available in
preparation for trial and at the trial itself, The Sixth Amendment does not include any right to
appeal. As we have recognized, "[t]he right of appeal, as we presently know it in criminal cases,
is purely a creature of statute." Abney, 431 US, at 656, 52 L Ed 2d 651, 97 S Ct 2034. It
necessarily follows that the Amendment itself does not provide any basis for finding a right to
self-representation on appeal.

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ANTHONY PASQUALL FARETTA, Petitioner,
VS.
STATE OF CALIFORNIA

422 US 806, 45 L Ed 2d 562, 95 SCT 2525
[No. 73-5772]
_ Argued November 19, 1974.

Decided June 30, 1975.

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II

In the federal courts, the right of self-representation has been protected by statute since the
beginnings of our Nation. Section 35 of the Judiciary Act of 1789, 1 Stat 73, 92, enacted by the
First Congress and signed by President Washington one day before the Sixth Amendment

[422 US 813]

was proposed, provided that "in all the courts of the United States, the parties may plead and
manage their own causes personally or by the assistance of ... counsel. ...". The right is currently
codified in 28 USC § 1654 [28 USCS § 1654].

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The right to defend <*pg. 573>
[422 US 820]

is given directly to the accused; for it is he who suffers the consequences if the defense fails.

[9][10] The counsel provision supplements this design. It speaks of the "assistance" of
counsel, and an assistant, however expert, is still an assistant. The language and spirit of the Sixth
Amendment contemplate that counsel, like the other defense tools guaranteed by the Amendment,
shall be an aid to a willing defendant-not an organ of the State interposed between an unwilling
defendant and his right to defend himself personally. To thrust counsel upon the accused, against
his considered wish, thus violates the logic of the Amendment. In such a case, counsel is not an
assistant, but a master;16 and the right to make a defense is stripped of the personal character
upon which the Amendment insists. It is true that when a defendant chooses to have a lawyer
manage and present his case, law and tradition may allocate to the counsel the power to make
binding decisions of trial strategy in many areas. Cf. Henry v Mississippi, 379 US 443, 451, 13 L
Ed 2d 408, 85 S Ct 564; Brookhart v Janis, 384 US 1, 7-8, 16 L Ed 2d 314, 86 S Ct 1245; Fay v
Noia, 372 US 391, 439, 9 L Ed 2d 837, 83 S Ct 822. This allocation can only be justified,
however, by the defendant's consent, at the

[422 US 821]

outset, to accept counsel as his representative. An unwanted counsel "represents" the
defendant only through a tenuous and unacceptable legal fiction. Unless the accused has
acquiesced in such representation, the defense presented is not the defense guaranteed <*pg.
574> him by the Constitution, for, in a very real sense, it is not his defense.

B

The Sixth Amendment, when naturally read, thus implies a right of self-representation. This
reading is reinforced by the Amendment's roots in English legal history.

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APIO Oe
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Amendment 2 Right to bear arms.

A well regulated Militia, being necessary to the security of a free State, the right of the people
to keep and bear Arms, shall not be infringed.

USCONST 1

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THE INTERSTATE COMMERCE COMMISSION » Appt.,
VS.
W. G. BRIMSON et al.

[38 L Ed 1047] (See S. C. Reporter's ed. 447-490.)
[No. 883.]

Argued April 16, 17, 1894. Decided May 26, 1894.
HEADNOTES

Classified to U.S. Supreme Court Digest, Lawyers' Edition

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[154 US 478]

As the circuit court is competent under the law by which it was ordained and established to
take jurisdiction of the parties, and as a case arises under the Constitution or laws of the United
States when its decision depends upon either, why is not this proceeding judicial in form and
instituted for the determination or distinct issues between the parties, as defined by formal
pleadings, a case or controversy for judicial cognizance, within the meaning of the Constitution?
It must be so regarded, unless, as is contended, Congress is without power to provide any method
for enforcing the statute or compelling obedience to the lawful orders of the Commission, except
through criminal prosecutions or by civil actions to recover penalties imposed for non-compliance
with such orders. But no limitation of that kind upon the power of Congress to regulate
commerce among the states is justified either by the letter or the spirit of the Constitution. Any
such rule of constitutional interpretation, if applied to all the grants of power made to Congress,
would defeat the principal objects for which the Constitution was ordained. As the issues are so
presented that the judicial power is capable of acting on them finally as between the parties before
fhe court, we cannot adjudge that the mode prescribed for enforcing the lawful orders of the
Interstate Commission is not calculated to attain the object for which Congress was given power
to regulate interstate commerce. It cannot be so declared unless the incompatibility between the
Constitution and the Act of Congress <*pg. 1058> is clear and strong. Fletcher v. Peck, 10 U.
S. 6 Cranch. 87, 128 [3: 162, 175]. In accomplishing the objects of a power granted to it,
Congress may employ any one or all the modes that are appropriate to the end in view, taking
care only that no mode employed is inconsistent with the limitations of the Constitution.

We do not overlook those constitutional limitations which, for the protection of personal
rights, must necessarily attend all investigations conducted under the authority of Congress.
Neither branch of the legislative department, still less any merely administrative body, established
by Congress, possesses, or can be invested with, a general power of making inquiry into the
private affairs of the citizen. Kilbourn v. Thompson,

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It was said in argument that the twelfth section was in derogation of those fundamental
guarantees of personal rights that are recognized by the Constitution as inhering in the freedom of
the citizen. It is scarcely necessary to say that the power given to Congress to regulate interstate
commerce does not carry with it any power to destroy or impair those guarantees. This court has
‘already spoken fully upon that general subject in Counselman v. Hitchcock, 142 U. S. 547 [35:
1110], 3 Inters. Com. Rep. 816. We need not add anything to what has been there said. Suffice
it in the present case to say that as the Interstate Commerce Commission, by petition in a circuit
court of the United States, seeks, upon grounds distinctly set forth, an order to compel appellees
to answer particular questions and to produce certain books, papers, etc., in their possession, it
was open to each of them to contend before that court that he was protected by the Constitution
from making answer to the questions propounded to him; or that he was not legally bound to
produce the books, papers, etc., ordered to be produced; or that neither the questions propounded
nor the books, papers, etc., called for relate to the particular matter under investigation, nor to
any matter which the Commission is entitled under the Constitution or laws to investigate. These
issues being determined in their favor by the court below, the petition of the Commission could
have been dismissed upon its merits.

[154 US 480]

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HALLET KILBOURN, Plff. in Err.,
VS.
JOHN G. THOMPSON et al.

[26 L Ed 377] (See S. C., 13 Otto, 168-205.)
[No. 18.]
Argued Jan. 13, 14, 1880. Decided Jan. 24, 1881. Rescinded Feb. 28, 1881. Redecided
Feb. 28, 1881, as of Jan. 24, 1881.
HEADNOTES
Classified to U.S. Supreme Court Digest, Lawyers' Edition
Right of House of Representatives to punish for contempt - power to punish its own
members - <*pg. 378> absent members - qualification of members - impeachment - power

to punish witness - limit of power - governmental powers - invalid resolution - want of
authority - power of courts - false imprisonment - privileges of members.

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No general power of inflicting punishment by the Congress of the United States is found in
that mstrument. I[t contains in the provision that no "person shall be deprived of life, liberty or
property, without due process of law,” the strongest implication against punishment by order of
the legislative body. It has been repeatedly decided by this court and by others of the highest
authority, that this means a trial in which the rights of the party shall be decided by a tribunal
appointed by law, which tribunal is to be governed by rules of law previously established. An Act
of Congress which proposed to adjudge a man guilty of a crime and inflict the punishment, would
be conceded by all thinking men to be unauthorized by anything in the Constitution That
instrument, however, is not wholly silent as to the authority of the separate branches of Congress
to inflict punishment. It authorizes each House to punish its own members. The 3d clause of the
15th section of the first article declares that "Each House may determine the rules of its
proceedings, punish its members for disorderly behavior and, with the concurrence of two thirds,
expel a member." And in the clause just preceding it is said that they "may be authorized to
compel the attendance of absent members, in such manner and under such penalties as each House
may provide.” These provisions are equally instructive in what they authorize and in what they do
not authorize. There is no express power in that instrument conferred on either House of

Congress to punish for contempts.

The advocates of this power have, therefore, resorted to an implication of its existence
founded

[103 US 183]

on two principal arguments.

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Especially is it competent and proper for this court to consider whether its proceedings are in
conformity with the Constitution and laws, because living under a written Constitution, no branch
or department of the government is supreme, and it is the province and duty of the judicial
department to determine in cases regularly brought before them, whether the powers of any
branch of the government, and even those of the Legislature in the enactment of laws, have been
exercised in conformity to the Constitution; and if they have not, to treat their acts as null and
void. The House of Representatives has the power under the Constitution to imprison for
contempt, and the power is limited to the cases expressly provided for by the Constitution, or to
cases where the power is necessarily implied from these constitutional functions and to the proper
performance of which it is essential."

In this statement of the law, and in the principles there laid down, we fully concur.

We must, therefore, hold, notwithstanding what is said in the case of Anderson v. Dunn,

[103 US 200]

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UNITED STATES, Petitioner
vs.
ANTONIO J. MORRISON et al. (No. 99-5)

CHRISTY BRZONKALA, Petitioner
vs.
ANTONIO J. MORRISON et al. (No. 99-29)

529 US 598, 146 L Ed 2d 658, 120 S Ct 1740

Argued January 11, 2000.

Decided May 15, 2000.

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[529 US 617]

[13a][14a] We accordingly reject the argument that Congress may regulate noneconomic,
violent criminal conduct based solely on that conduct's aggregate effect on interstate commerce.
The Constitution requires a distinction between what is

[529 US 618]

truly national and what is truly local. Lopez, 514 US, at 568, 131 L Ed 2d 626, 115S Ct
1624 (citing Jones & Laughlin Steel, 301 US, at 30, 81 L Ed 893, 57 S Ct 615). In recognizing
this fact we preserve one of the few principles that has been consistent since the Clause was
adopted. The regulation and punishment of intrastate violence that is not directed at the
instrumentalities, channels, or goods involved in interstate commerce has always been the
province of the States. See, e.g., Cohens v Virginia, 6 Wheat 264, 426, 428, 5 L Ed 257 (1821)
(Marshall, C. J.) (stating that Congress "has no general right to punish murder committed within
any of the States," and that it 1s "clear... that congress cannot punish felonies generally").
Indeed, we can think of no better example of the police power, which the Founders denied the
National Government and reposed in the States, than the suppression of violent crime and
vindication of its victims.8 See, e.g., Lopez, 514 US, at 566, 131 L Ed 2d 626, 115 S Ct 1624
("The Constitution. . . <*pg. 677> withhold[s] from Congress a plenary police power"); id., at °
584-585, 131 L Ed 2d 626, 115 S Ct 1624 (Thomas, J., concurring) ("[W]e always have rejected
readings

[529 US 619]

of the Commerce Clause and the scope of federal power that would permit Congress to
exercise a police power"), 596-597, and n 6, 131 L Ed 2d 626, 115 S Ct 1624 (noting that the
first Congresses did not enact nationwide punishments for criminal conduct under the Commerce

Clause).

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§ 453. Oaths of justices and judges

Each justice or judge of the United States shall take the following oath or affirmation before
performing the duties of his office: “I, ___, do solemnly swear (or affirm) that I will administer
justice without respect to persons, and do equal right to the poor and to the rich, and that I will
faithfully and impartially discharge and perform all the duties incumbent upon me as ___ under the
Constitution and laws of the United States. So help me God.”

HISTORY:

June 25, 1948, ch 646, 62 Stat. 907; Dec. 1, 1990, P. L. 101-650, Title IV, Subtitle I, § 404, 104
Stat. 5124.

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CHAPTER 105. PROTECTION OF LAWFUL COMMERCE IN ARMS

§ 7901. Findings; purposes \
§ 7902. Prohibition on bringing of qualified civil liability actions in Federal or State court

§ 7903. Definitions

§ 7901. Findings; purposes

(a) Findings. Congress finds the following:

(1) The Second Amendment to the United States Constitution provides that the right of
the people to keep and bear arms shall not be infringed.

(2) The Second Amendment to the United States Constitution protects the rights of
individuals, including those who aré not members of a militia or engaged in military service or
training, to keep and bear arms.

(3) Lawsuits have been commenced against manufacturers, distributors, dealers, and
importers of firearms that operate as designed and intended, which seek money damages and
other relief for the harm caused by the misuse of firearms by third parties, including criminals.

(4) The manufacture, importation, possession, sale, and use of firearms and ammunition in
the United States are heavily regutated by Federal, State, and local laws. Such Federal laws
include the Gun Control Act of 1968, the National Firearms Act [26 USCS §§ 5801 et seq.], and
the Arms Export Control Act [22 USCS §§ 2751 et seq.].

(5) Businesses in the United States that are engaged in interstate and foreign commerce
through the lawful design, manufacture, marketing, distribution, importation, or sale to the public
of firearms or ammunition products that have been shipped or transported in interstate or foreign
commerce are not, and should not, be liable for the harm caused by those who criminally or
unlawfully misuse firearm producfS or ammunition products that function as designed and

intended.

(6) The possibility of imposing liability on an entire industry for harm that is solely caused
by others is an abuse of the legal system, erodes public confidence in our Nation’s laws, threatens
the diminution of a basic constitutional right and civil liberty, invites the disassembly and
destabilization of other industries and economic sectors lawfully competing in the free enterprise
system of the United States, and constitutes an unreasonable burden on interstate and foreign

commerce of the United States.

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(7) The liability actions commenced or contemplated by the Federal Government, States,
municipalities, and private interest groups and others are based on theories without foundation in
hundreds of years of the common [aw and jurisprudence of the United States and do not represent
a bona fide expansion of the common law. The possible sustaining of these actions by a maverick
judicial officer or petit jury would expand civil liability in a manner never contemplated by the
framers of the Constitution, by Congress, or by the legislatures of the several States. Such an
expansion of liability ‘would constitute a deprivation of the rights, privileges, and immunities
guaranteed to a citizen of the United States under the Fourteenth Amendment to the United

States Constitution.

(8) The liability actions commenced or contemplated by the Federal Government, States,
municipalities, private interest groups and others attempt to use the judicial branch to circumvent
the Legislative branch of government to regulate interstate and foreign commerce through
judgments and judicial decrees thereby threatening the Separation of Powers doctrine and
weakening and undermining important principles of federalism, State sovereignty and comity
between the sister States. “

(b) Purposes. The purposes of this Act are as follows:

(1) To prohibit causes of action against manufacturers, distributors, dealers, and importers
of firearms or ammunition products, and their trade associations, for the harm solely caused by the
criminal or unlawful misuse of firearm products or ammunition products by others when the
product functioned as designed and intended.

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(2) To preserve a citizen’s access to a supply of firearms and ammunition for all lawful
purposes, including hunting, self-defense, collecting, and competitive or recreational shooting.

(3) To guarantee a citizen’s rights, privileges, and immunities, as applied to the States,
under the Fourteenth Amendment to the United States Constitution, pursuant to section 5 of that

Amendment.

(4) To prevent the use of sych lawsuits to impose unreasonable burdens on interstate and
foreign commerce.
(5) To protect the right, under the First Amendment to the Constitution, of manufacturers,

distributors, dealers, and importers of firearms or ammunition products, and trade associations, to
speak freely, to assemble peaceably, and to petition the Government for a redress of their

grievances.

(6) To preserve and protect the Separation of Powers doctrine and important principles of

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TOWN OF RED ROCK, PIiff. in Err.,
vs.
JACOB A. HENRY.

[27 L Ed 251] (See S. C., 16 Otto, 596 - 605.)

[No. 134.]

Submitted Dec. 14, 1882. Decided Jan. 8, 1883.
HEADNOTES

Classified to U.S. Supreme Court Digest, Lawyers' Edition

Repeal of statute by implication - railroad aid laws - unconstitutional Act.

1. When an affirmative statute contains no expression of a purpose to repeal a prior law, it
does not repeal it unless the two Acts are in irreconcilable conflict, or unless the later statute
covers the whole ground occupied by the earlier and is clearly intended as a substitute for it; and

(. the intention of the Legislature to repeal must be clear and manifest.

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DISTRICT OF COLUMBIA, et al., Petitioners
VS.
DICK ANTHONY HELLER

554 US 570, 128 S Ct 2783, 171 L Ed 2d 637, 2008 US LEXIS 5268
[No. 07-290]
Argued March 18, 2008.

Decided June 26, 2008.

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We turn to the phrases “keep arms" and “bear arms." Johnson defined “‘keep" as, most
ee ‘[t]o retain; not to lose," and “[t]o have in custody." Johnson 1095. Webster defined it
“Tt]o hold; to retain in one's power or possession." No party has apprised us of an idiomatic
meaning of keep Arms.” Thus, [7] the most natural reading of “keep Arms" in the Second

Amendment is to “have weapons."

The phrase “keep arms" was not prevalent in the written documents ofthe<*pg. 652>
founding period that we have found, but there are a few examples, all of which favor viewing the
right to ‘keep Arms" as an individual right unconnected with militia service. William Blackstone,
for example, wrote that Catholics convicted of not attending service in the Church of England
suffered certain penalties, one of which was that they were not permitted to ‘‘keep arms in their
houses." 4 Commentaries on the Laws of England 55 (1769) (hereinafter Blackstone); see also |
W. &M., ch. 15, § 4, in3 Eng. Stat. at Large 422 (1689) (*[N]o Papist . . . shall or may have or
keep in his House .. . any Arms. . ."); | W. Hawkins, Treatise on the Pleas of the Crown 26
(1771) (similar). Petitioners point to militia laws of the founding period that required militia
members to "keep" arms in connection with

[554 U.S. 583]

militia service, and they conclude from this that the phrase ‘‘keep Arms" has a militia-related
connotation. See Brief for Petitioners 16-17 (citing laws of Delaware, New Jersey, and Virginia).
This is rather like saying that, since there are many statutes that authorize aggrieved employees to
“file complaints" with federal agencies, the phrase ‘file complaints" has an employment-related
connotation. ‘Keep arms" was simply a common way of referring to possessing arms, for

militiamen and everyone else. 7

[554 U.S. 584]

[8] At the time of the founding, as now, to “‘bear" meant to “carry.” See Johnson 161;
Webster; T. Sheridan, A Complete Dictionary of the English Language (1796); 2 Oxford English
Dictionary 20 (2d ed. 1989) (hereinafter Oxford). When used with “‘arms," however, the term has
“a meaning that refers to carrying for a particular purpose-confrontation. In Muscarello v. United
States, 524 U.S. 125, 118 S. Ct. 1911, 147 L. Ed. 2d 111 (1998), in the course of analyzing the
meaning of carries a firearm” in a federal criminal statute, Justice Gins-<*“pg. 653> burg wrote
that [sJurely a most familiar meaning is, as the Constitution's Second Amendment...
indicate[s]: ‘wear, bear, or carry . . . upon the person or in the clothing or in a pocket, for the
purpose .. . of being armed and ready for offensive or defensive action in a case of conflict with
another person Tq, at 143, 118. Ct. 1911, 141 L. Ed 2d 117 (dissenting opinion) (quoting

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BUTCHERS' UNION SLAUGHTER-HOUSE AND LIVE STOCK LANDING
COMPANY, Appt.,
vps. .
CRESCENT CITY LIVE STOCK LANDING AND SLAUGHTER-HOUSE COMPANY.

[28 L Ed 585] (See S. C., Reporter's ed., 746-766.)
[No. 627.]

Argued Apr. 9, 10, 1884. Decided May 5, 1884.
HEADNOTES

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After declaring their independence, the newly formed States replaced their colonial charters
with constitutions and state bills of rights, almost all of which guaranteed the same fundamental
rights that the former colonists previously had claimed by virtue of their English heritage. See, e.
g., Pa. Declaration of Rights (1776), reprinted in 5 Thorpe 3081-3084 (declaring that ‘all men
are born equally free and independent, and have certain natural, inherent and inalienable rights,"
including the “right to worship Almighty God according to the dictates of their own consciences"
and the. ‘right to bear arms for the defence of themselves and the state").5

Several years later, the Founders amended the Constitution to expressly protect many of the
same fundamental rights against interference by the Federal Government. Consistent with their
English heritage, the founding generation generally did not consider many of the rights identified
in these amendments as new entitlements, but as inalienable rights of all men, given legal effect
by their codification in the Constitution's text. See, e.g., 1 Annals of Cong. 431-432, 436-437,
440-442 (1834) (statement of Rep. Madison) (proposing Bill of Rights in the first Congress); The
Federalist No. 84, pp. 531-533 (B. Wright ed. 1961) (A. Hamilton); see also Heller, 554 U.S., at
--, 128 S. Ct. 2783, 171 L. Ed. 2d 637 (* [I]t has always been widely understood that the Second
Amendment, like the First and Fourth Amendments, codified a <*pg. 947> pre-existing right").
The Court's subsequent decision in Barron, however, made plain that the codification of these
rights in the Bill made them legally enforceable only against the Federal Government, not the
States. See 7 Pet., at 247, 8 L. Ed. 751.

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EDWARD PERUTA; MICHELLE LAXSON; JAMES DODD; LESLIE BUNCHER, Dr.; MARK CLEARY;
CALIFORNIA RIFLE AND PISTOL ASSOCIATION FOUNDATION, Plaintiffs - Appellants, v.
COUNTY OF SAN DIEGO; WILLIAM D. GORE, individually and in his capacity as Sheriff,

Defendants - Appellees.
UNITED STATES COURT OF APPEALS FOR THE NINTH CIRCUIT
742 F.3d 1144; 2014 U.S. App. LEXIS 2786
No. 10-56971
December 6, 2012, Argued and Submitted, San Francisco, California
February 13, 2014, Filed

Editorial Information: Subsequent History

As Corrected March 24, 2014.Counsel Amended March 4, 2014.Stay granted by, Motion granted by
Peruta v. County of San Diego, 2014 U.S. App. LEXIS 18929 (9th Cir. Cal., Feb. 28, 2014)Motion denied
by Peruta v. County of San Diego, 771 F.3d 570, 2014'U.S. App. LEXIS 21509 (9th Cir., 2014)Vacated
by, Rehearing, en banc, granted by Peruta v. County of San Diego, 781 F.3d 1106, 2015 U.S. App.
LEXIS 4941 (9th Cir., 2015)Different results reached on rehearing at, En banc, Motion granted by Peruta
v. Cnty. of San Diego, 2016 U.S. App. LEXIS 10436 (9th Cir. Cal., June 9, 2016)

Editorial Information: Prior History

{2014 U.S. App. LEXIS 1}

Appeal from the United States District Court for the Southern District of California. D.C. No.
3:09-cv-02371-IEG-BGS. Irma E. Gonzalez, Chief District Judge, Presiding.Peruta v. County of San
Diego, 758 F. Supp. 2d 1106, 2010 U.S. Dist. LEXIS 130878 (S.D. Cal., 2010)

Disposition:

REVERSED and REMANDED.

Counsel Paul D. Clement, Bancroft PLLC; Washington;D.C. argued the cause for
the plaintiffs-appellants. Carl D. Michel, Michel & Associates, P.C., Long Beach, California,
filed the briefs for the plaintiffs-appellants. With him on the briefs were Glenn S. McRoberts,
Sean A. Brady, Anna M. Barvir, Clinton B. Monfort, and Bobbie K. Ross, Michel &
Associates, P.C., Long Beach, California, and Paul Neuharth, Jr., Paul Neuharth, Jr. APC.,

San Diego, California.
James M. Chapin, Senior Deputy Attorney for County of San,

San Diego, California, argued the cause and filed the brief for defendant-appellee William D.
Gore. With him on the brief was Thomas E. Montgomery, County Counsel for County of San

Diego, San Diego, California.
Stephen P. Halbrook, Fairfax, Virginia, filed the brief on behaif

of amicus curiae Congress of Racial Equality, Inc. in support of the plaintiffs-appellants.
Paul D. Clement, Bancroft PLLC, {2014 U.S. App. LEXIS

2}Washington, D.C., filed the brief on behalf of amicus curiae National Rifle Association of

America, Inc. in support of plaintiffs-appellants.
David B. Kopel, Independence Institute, Golden, Colorado, filed

the brief on behalf of amici curiae International Law Enforcement Educators and Trainers

Association and the Independence Institute.
Alan Gura, Gura & Possessky, PLLC, Alexandria, Virginia, filed

the brief on behalf of amici curiae Second Amendment Foundation, Inc., Calguns

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Foundation, Inc., Adam Richards, and Brett Stewart in support of plaintiffs-appellants.
John C. Eastman, Chapman University School of Law, Orange,

California, filed the brief on behalf of amici curiae Center for Constitutional Jurisprudence,
Doctors for Responsible Gun Ownership, and Law Enforcement Alliance of America. With

him on the brief were Anthony T. Caso and Karen J. Lugo.
Don B. Kates, Battle Ground, Washington, filed the brief on

behalf of amici curiae Gun Owners of California and Senator H.L. Richardson (Ret.) in

support of plaintiffs-appellants.
Neil R. O'Hanlon, Hogan Lovells U.S. LLP, Los Angeles,

California, filed the brief on behalf of amici curiae Brady Center to Prevent Gun Violence,
the International {2014 U.S. App. LEXIS 3}Brotherhood of Police Officers, and the Police
Foundation. With him on the brief were Adam K. Levin, S. Chartey Quarcoo, and Samson
O. Asiyanbi, Hogan Lovells US LLP, Washington, D.C., and Jonathan E. Lowy and Daniel R.

Vice, Brady Center to Prevent Gun Violence, Washington, D.C.
Paul R. Coble, Law Offices of Jones & Mayer, Fullerton,

California, filed the brief on behalf of amici curiae California State Sheriffs Association,
California Police Chiefs Association, and California Peace Officers Association in support of
defendants-appellees. With him on the brief was Martin J. Mayer, Law Offices of Jones &

Mayer, Fullerton, California.
Simon J. Frankel, Covington & Burling LLP, San Francisco,

California, filed the brief on behalf of amici curiae Legal Community against Violence, Major
Cities Chiefs Association, Association of Prosecuting Attorneys, and San Francisco District
Attorney George Gascén in support of defendants-appellees. With him on the brief were
Samantha J. Choe, Steven D. Sassaman, and Ryan M. Buschell, Covington & Burling LLP,
San Francisco, California.

Judges: Before: O'SCANNLAIN, THOMAS, and CALLAHAN, Circuit Judges. THOMAS, Circuit Judge,

dissenting.

CASE SUMMARYApplicants for licenses to carry a concealed weapon were unconstitutionally denied
their right to bear arms by a county requirement that the applicants demonstrate good cause by
documenting specific threats against them, since responsible, law-abiding citizens had a right to carry

firearms in public for self-defense.

OVERVIEW: HOLDINGS: [1]-Applicants for licenses to carry a concealed weapon were
unconstitutionally denied their right to bear arms by a county requirement that the applicants
demonstrate good cause by documenting specific threats against them, since responsible, law-abiding

citizens had a right to carry firearms in public for self-defense

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Case 1:21-cr-10045-ADB Document185_ Filed 07/08/24 Page 33 of 51

NEW YORK STATE RIFLE & PISTOL ASSOCIATION, INC., et al., Petitioners
VS.
KEVIN P. BRUEN, in his official capacity as SUPERINTENDENT OF NEW YORK
STATE POLICE, et al.

597US _, 142 SCt__, 213 L Ed 2d 387, 2022 US LEXIS 3055
[No. 20-843]
Argued November 3, 2021.
Decided June 23, 2022.
DECISION

Where State of New York issued public-carry licenses only when applicant demonstrated
special need for self-defense, State's licensing regime violated Constitution because Second and
Fourteenth Amendments protected individual's right to carry handgun for self-defense outside the

home.

Prior history: ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
APPEALS FOR THE SECOND CIRCUIT, 818 Fed. Appx. 99, 2020 U.S. App. LEXIS 27455

SUMMARY

Overview: HOLDINGS: [1]-Where the State of New York issued public-carry licenses only
when an applicant demonstrated a special need for self-defense, the State's licensing regime
violated the Constitution because the Second and Fourteenth Amendments protected an
individual's right to carry a handgun for self-defense outside the home. A State could not prevent
law-abiding citizens from publicly carrying handguns because they had not demonstrated a special
need for self-defense.

Outcome: Judgment reversed; case remanded. 6-3 decision; 3 concurrences; | dissent.

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Amendment 5 Criminal actions—Provisions concerning—Due process of law
and just compensation clauses.

No person shall be held to answer for a capital, or otherwise infamous crime, unless on a
presentment or indictment of a Grand Jury, except in cases arising in the land or naval forces, or
in the Militia, when in actual service in time of War or public danger; nor shall any person be
subject for the same offence to be twice put in jeopardy of life or limb; nor shall be compelled in
any criminal case to be a witness against himself, nor be deprived of life, liberty, or property,
without due process of law; nor shall private property be taken for public use, without just
compensation.

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UNITED STATES, Piff. in Err.,
vs.
WILLIAM J. CRUIKSHANK et al.

[23 L Ed 588] (See S. C. Reporter's ed. 542-569.)

[No. 339.]

Argued Mar. 30, 31, Apr. 1, 1875. Decided Mar. 27, 1876.
HEADNOTES

Classified to U.S. Supreme Court Digest, Lawyers’ Edition

Citizen of United States, and of State - protection of rights - right to assemble -
constitutional amendment - national right - right of bearing arms - conspiracy - 14th
Amendment - duty of government - right of suffrage - indictment - insufficient counts in.

1. A person may be at the same time a citizen of the United States and a citizen of a State, but
his rights of citizenship under one of these governments will be different from those he has under

the other.

2. The Government should exercise all the powers it has for the protection of the rights of its
citizens, but it can exercise no other.

3. The First Amendment to the Constitution, which prohibits Congress from abridging the
right of the people to assemble and to petition the Government for a redress of grievances, was
not intended to limit the powers of the state governments in respect to their own citizens, but to
operate upon the National Government alone. '

4. The right of the people peaceably to assemble for the purpose of petitioning Congress for a
redress of grievances, or for anything else connected with the powers or the duties of the National
Government, existed long before the adoption of the Constitution and is an attribute of national
citizenship and, as such, is under the protection of and guarantied by the United States.

5. An indictment for conspiring to hinder persons in their right to assemble, which does not
allege that the object of the defendants was to prevent a meeting for such a purpose, is not within
the Statute of May 31, 1870, nor within the scope of the sovereignty of the United States.

6. The right of bearing arms for a lawful purpose is not a right granted by the Constitution;

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neither is it in any manner dependent upon that instrument for its existence. The Second
Amendment declarés that it shall not be infringed, but this means no more than that it shall not be

infringed by Congress.

7. It is no more the duty or within the power of the United States to punish for a conspiracy to
falsely imprison or murder within a State, than it would be to punish for false imprisonment or
murder itself.

8. The Fourteenth Amendment prohibits a State from depriving any person of life, liberty or
property, without due process of law, and from denying to any person within its jurisdiction the
<*pg. 589> equal protection of the laws; but this provision does not add anything to the
fundamental rights of the citizen under the Constitution.

9. Every republican government is in duty bound to protect all its citizens in the enjoyment of
an equality of right. That duty was originally assumed by the States and it still remains there. The
only obligation resting upon the United States is to see that the States do not deny the right. This .
the Amendment guaranties, but no more; the power of the National Government is limited to the

enforcement of this guaranty.

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JOHN K. KENNARD, Plff. in Err.,
VS.
STATE OF LOUISIANA, ex rel. Philip Hickey Morgan.

[23 L Ed 478] (See S. C. Reporter's ed. 480-483.)
[No. 60.]

Argued Dec. 1, 1875. Decided Jan. 10, 1876.
HEADNOTES

Classified to U.S. Supreme Court Digest, Lawyers' Edition

Due process of law, what is - State Courts - rule to show cause - precedence - Constitutional
provision.

1. The due course of legal proceedings, according to those rules and forms which have been
established for the protection of private rights, is due process of law.

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PAUL POE et al., Appellants,
VS.
ABRAHAM ULLMAN, State's Attorney

JANE DOE, Appellant,
VS.
ABRAHAM ULLMAN, State's Attorney (No. 60)

C. LEE BUXTON, Appellant,
VS.
ABRAHAM ULLMAN, State's Attorney (No. 61)

367 US 497, 6 L Ed 2d 989, 81 SCT 1752
[Nos. 60 and 61]
Argued March 1 and 2, 1961.

Decided June 19, 1961.

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[17] Were due process merely a procedural safeguard it would fail to reach those situations
where the deprivation of life, liberty or property was accomplished by legislation which by
operating in the future could, given even the fairest possible procedure in application fo
individuals, nevertheless destroy the enjoyment of all three. Compare, e. g., Selective Draft Law
Cases, 245 US 366, 62 L ed 352, 38 S Ct 159, LRAI918C 361, Ann Cas 1918B 856; Butler v
Perry, 240 US 328, 60 L ed 672, 36 S Ct 258; Korematsu v United States, 323 US 214, 89 L ed
194, 65 S Ct 193. Thus the guaranties of due process, though having their roots in Magna Carta's
"per legem terrae" and considered as procedural safeguards "against executive usurpation and
tyranny," have in this country "become bulwarks also against arbitrary legislation." Hurtado v
California, 110 US 516, at 532, 28 L ed 232, 237,48 Ct 111.

However it is not the particular enumeration of rights in the first eight Amendments which
spells out the reach of Fourteenth Amendment due process, but rather, as was suggested in
another context long before the adoption of that Amendment, those concepts which are
considered to embrace those rights "which are ... fundamental; which belong ... to the citizens of
all free governments." Corfield v Coryell (Pa) 4 Wash CC 371, 380, 386, F Cas No. 3230, for
"the purposes [of securing] which men enter into society," Calder v Bull (US) 3 Dall 386, 388, 1
L ed 648, 649. Again and again this Court has resisted the notion that the Fourteenth
Amendment is no more than a shorthand reference to what is explicitly set out elsewhere in the
Bill of Rights. Slaughter House Cases (US) 16 Wall 36, 21 L ed 394; Walker v Sauvinet, 92 US
90, 23 L ed 678; Hurtado v California, 110 US 516, 28 L ed 232, 4 S Ct 11; Presser v Illinois,
116 US 252, 29 Led 615, 6 S Ct 580; Re Kemmler, 136 US 436, 34 L ed 519, 10 S Ct 930;

[367 US 542]

Twining v New Jersey, 211 US 78, 53 L ed 97, 29 S Ct 14; Palko v Connecticut, 302 US
319, 82 L ed 288, 58 S Ct 149. Indeed the fact that an identical provision limiting federal action
is found among the first eight Amendments, applying to the Federal Government, suggests that
due process is a discrete concept which subsists as an independent guaranty of liberty and
procedural fairness, more general and inclusive than the specific prohibitions. See Church of
Jesus Christ of L. D. S. v United States, 136 US 1, 34 L ed 478, 10 S Ct 792; Downes v Bidwell,
182 US 244, 45 Led 1088, 21 S Ct 770; Hawaii v Mankichi, 190 US 197, 47 L ed 1016, 23 S Ct
787; Balzac v Porto Rico, 258 US 298, 66 L ed 627, 42 S Ct 343; Farrington v Tokushige, 273
US 284, 71 L ed 646, 47 S Ct 406; Bolling v Sharpe, 347 US 497, 98 L ed 884, 74S Ct

693.<*pg. 1019>

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§ 4241. Determination of mental competency to stand trial or to undergo
postrelease proceedings

(a) Motion to determine competency of defendant. At any time after the commencement
of a prosecution for an offense and prior to the sentencing of the defendant, or at any time after
the commencement of probation or supervised release and prior to the completion of the sentence,
the defendant or the attorney for the Government may file a motion for a hearing to determine the
mental competency of the defendant. The court shall grant the motion, or shall order such a
hearing on its own motion, if there is reasonable cause to believe that the defendant may presently
be suffering from a mental disease or defect rendering him mentally incompetent to the extent that
he is unable to understand the nature and consequences of the proceedings against him or to assist
properly in his defense.

(b) Psychiatric or psychological examination and report. Prior to the date of the hearing,
the court may order that a psychiatric or psychological examination of the defendant be
conducted, and that a psychiatric or psychological report be filed with the court, pursuant to the
provisions of section 4247(b) and (c) [18 USCS § 4247(b) and (c)].

(c) Hearing. The hearing shall be conducted pursuant to the provisions of section 4247(d)
[18 USCS § 4247(d)].

(d) Determination and disposition. If, after the hearing, the court finds by a preponderance
of the evidence that the defendant is presently suffering from a mental disease or defect rendering
him mentally incompetent to the extent that he is unable to understand the nature and
consequences of the proceedings against him or to assist properly in his defense, the court shall
commit the defendant to the custody of the Attorney General. The Attorney General shall

hospitalize the defendant for treatment in a suitable facility —

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UNITED STATES of America v. James Peter PARDUE
UNITED STATES DISTRICT COURT FOR THE DISTRICT OF CONNECTICUT
354 F. Supp. 1377; 1973 U.S. Dist. LEXIS 14702
Crim. No. 12758
March 1, 1973

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2. There is no federal facility available in which he can receive effective medical and psychiatric care
_and attention. As Justice Clark, sitting by designation, stated in Henry v. Ciccone, supra, 440 F.2d at
¢ 1054: "Again and again we have recognized that the F.M.C. is a penal institution and that one

confinéd there suffers incarceration.” See, also, United States v. Walker, supra, {354 F. Supp. 1382}
335 F. Supp. at 709; United States v. Jackson, supra, 306 F. Supp. at 6. 2

{1973 U.S. Dist. LEXIS 15} 3. Although an extremely dangerous person, cf. Greenwood v. United
States, 350 U.S. 366, 76 S. Ct. 410, 100 L. Ed. 412 (1956), James’ chances of attaining competency
under the present conditions of his confinement are almost impossible. Cf. Jackson v. Indiana, 406
U.S. 715, 92 S. Ct. 1845, 32 L. Ed. 2d 435 (1972).

4. James' continued detention as a menially deficient accused, without adequate treatment, has
reached constitutional dimensions. His right to a speedy trial is now in jeopardy, and serious
questions of due process and cruel and unusual punishment are present.

In United States v. Walker, supra, Judge Peckham found that the defendant was incompetent to
stand trial, that the defendant's confinement for over a year under § 4246 was an unconstitutional
commitment, and that the defendant had to be released from federal custody. Judge Zirpoli, in an
analogous situation, reached a similar conclusion in United States v. Jackson, supra. In that case,
Jackson was involved in the armed robbery of a bank in 1967, and, after presentation for plea, he
was sent to the F.M.C. for a mental examination. Subsequently he was declared incompetent to
stand trial. For the next 18 months he{1973 U.S. Dist. LEX!S 16} was confined at the F.M.C. until his
return to court in August, 1969, upon the recommendation of the Director of the Center. After another
competency hearing, the court concluded that Jackson was incompetent, that his mental illness was
not transitory, and that he could not be cured in the foreseeable future. Citing recent developments in
the field of mental illness, crime and the judicial response, Judge Zirpoli concluded:

Mandatory commitment, absent treatment lays bare sec. 4246 to seemingly incurable
constitutional infirmities .... Since there is no federal provision for civil commitment this court
cannot direct petitioner's further confinement. Consequently, the petitioner is discharged from

federal custody.

In the instant case, James' confinement has reached and surpassed any reasonable period of time
permitted under §§ 4244-4246 commitments. The delay in a final determination has been due to the
Court's vain hopes and futile efforts to find a satisfactory solution to James’ predicament. It now
appearing that there is no other alternative, James must be discharged from federal custody.

Accordingly, with great reluctance, it is hereby

Ordered:

1. That James Pardue{1973 U.S. Dist. LEXIS 17} be released from federal custody and
confinement;

2. That the defendant's motion to dismiss the indictment is granted; and it is further

Ordered:

That the effective dates of these orders be stayed for a period of 30 days to enable the government,
if it wishes, to appeal to the Court of Appeals for the Second Circuit, or to make arrangements with
appropriate state officials for the care, custody and treatment of James Pardue in the future.

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FREMONT WEEKS, PIff. in Err.,
VS.
UNITED STATES.

[58 L Ed 652] (See S. C. Reporter's ed. 383-399.)
[No. 461.]

Argued and submitted December 2 and 3, 1913. Decided February 24, 1914.
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In the Boyd Case, supra, after citing Lord Camden's judgment in Entick v. Carrington, 19
How. St. Tr. 1029, Mr. Justice Bradley said (630):

"The principles laid down in this opinion affect the very essence of constitutional liberty and
‘security. They reach farther than the concrete form of the case then before the court, with its
adventitious circumstances; they apply to all invasions on the part of the government and its
employees of the sanctity of a man's home and the privacies of life. It is not the breaking of his
doors and the rummaging of his drawers that constitutes the essence of the offense; but it is the
invasion of his indefeasible right of personal security, personal liberty, and private property, where
that right has never been forfeited by his conviction of some public offense, - it is the invasion of
this sacred right which underlies and constitutes the essence of Lord Camden's judgment."

In Bram v. United States, 168 U. S. 532, 42 L. ed. 568, 18 Sup. Ct. Rep. 183, 10 Am. Crim.
Rep. 547, this court, in speaking by the present Chief Justice of Boyd's Case, dealing with the 4th
and 5th Amendments, said (544):

"It was in that case demonstrated that both of these Amendments contemplated perpetuating,
in their full efficacy, by means of a constitutional provision, principles of humanity and civil liberty
which had been secured in the mother country only after years of struggle, so as to implant them
in our institutions in the fullness of their integrity, free from the possibilities of future legislative
change."

The effect of the 4th Amendment is to put the courts

[232 US 392]

of the United States and Federal officials, in the exercise of their power and authority, under
limitations and restraints as to the exercise of such power and authority, and to forever secure the
people, their persons, houses, papers, and effects, against all unreasonable searches and seizures
under the guise of law. This protection reaches all alike, whether accused of crime or not, and the
duty of giving to it force and effect is obligatory upon all intrusted under our Federal system with
the enforcement of the laws. The tendency of those who execute the criminal laws of the country
to obtain conviction by means of unlawful seizures and enforced confessions, the latter often
obtained after subjecting accused persons to unwarranted practices destructive of rights secured
by the Federal Constitution, should find no sanction in the judgments of the courts, which are
charged at all times with the support of the Constitution, and to which people of all conditions
have a right to appeal for the maintenance of such fundamental rights.

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APSO ES PEL
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29 LED 746, 116 US 616 Boyd v. United States.

EDWARD A. BOYD and GEORGE H. BOYD, Claimants of Thirty-Five Cases of Plate
Glass, Piffs. in Err.,
VS.
UNITED STATES.

[29 L Ed 746] (See S. C. Reporter's ed. 616-641.)
[No. 983.]

Argued Dec. 11, 1885. Decided Feb. 1, 1886.
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[116 US 630]

The principles laid down in this opinion affect the very essence of constitutional liberty and
security. They reach farther than the concrete form of the case then before the court, with its
adventitious circumstances; they apply to all invasions, on the part of the Government and its
employees, of the sanctity of a man's home and the privacies of life. It is not the breaking of his
doors and the rummaging of his drawers that constitutes the essence of the offense; but it is the
invasion of his indefeasible right of personal security, personal liberty and private property, where
‘that right has never been forfeited by his conviction of some public offense; it is the invasion of
this sacred right which underlies and constitutes the essence of Lord Camden's judgment.
Breaking into a house and opening boxes and drawers are circumstances of aggravation; but any
forcible and compulsory extortion of a man's own testimony or of his private papers to be used as
evidence to convict him of crime or to forfeit his goods is within the condemnation of that
judgment. In this regard the Fourth and Fifth Amendments run almost into each other.

Can we doubt that when the Fourth and Fifth Amendments to the Constitution of the United
States were penned and adopted, the language of Lord Camden was relied on as expressing the
true doctrine on the subject of searches and seizures, and as furnishing the true criteria of the
reasonable and unreasonable character of such seizures? Could the men who proposed those
Amendments, in the light of Lord Camden's opinion, have put their hands to a law like those of
March 3, 1863, and March 2, 1867, before recited? If they could not, would they have approved
the fifth section of the Act of June 22, 1874, which was adopted as a substitute for the previous
laws? It seems to us that the question cannot admit of a doubt. They never would have approved
of them. The struggles against arbitrary power, in which they had been engaged for more than
twenty years, would have been too deeply engraved in their memories to allow them to approve
of such insidious disguises of the old grievance which they had so deeply abhorred.

[116 US 631]

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BUTCHERS' UNION SLAUGHTER-HOUSE AND LIVE STOCK LANDING

COMPANY, Appt;

VS.
NT CITY LIVE STOCK LANDING AND SLAUGHTER-HOUSE COMPANY.

CRESCE
[28 L Ed 585] (See S. C., Reporter's ed., 746-766.)

(No. 627.]

Argued Apr. 9, 10, 1884. Decided May 5, 1884.

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These inherent rights have never been more happily expressed than in the Declaration of
Independence, that new evangel of liberty to the people: "We hold these truths to be

self-evident," that is, so plain that their truth is recognized upon their mere statement,

[111 US 757]

"that all men are endowed;" not by edicts of Emperors or decrees of Parliament or Acts of
Congress, but "by their Creator, with certain inalienable rights” that is, rights which cannot be
bartered away or given away Or taken away except in punishment of crime; "and that among these
are life, liberty and the pursuit of happiness, and to secure these,” not grant them but secure them,
"governments are instituted among men, deriving their just powers from the consent of the
governed.”

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Amendment 13

involuntary servitude, except as 4
icted, shall exist within the

Sec. 1. [Slavery prohibited.] Neither slavery nor
punishment for crime whereof the party shall have been duly conv
United States, or any place subject to their jurisdiction.
ss shall have power to enforce this article by

Sec. 2. [Power to enforce amendment.] Congre

appropriate legislation.

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THOMAS E. POLLARD, Petitioner,
vs.
UNITED STATES OF AMERICA

352 US 354, 1 L Ed 2d 393, 77 SCT 481
[No. 38]
Argued December 3, 1956.

Decided February 25, 1957.

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[352 US 364]

[18] Our law, based upon centuries of tragic human experience, requires that before a man”

can be sent to a penitentiary, he is entitled to a speedy trial, to be present in court at every <*pg.
401> step of the proceedings, at all times to be represented by counsel, or to speak in his own
urt of every action taken against him until he is lawfully

behalf, and to be informed in open co
sentenced. These are not mere ceremonials to be neglected at will in the interests of a crowded

calendar or other expediencies. They are basic rights. They bulk large in the totality of
procedural rights guaranteed to a person accused of crime.

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